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                         IN THE UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                JACKSONVILLE DIVISION

                                 CASE NO. 3:18-cv-811-J-32MCR

 UNITED STATES OF AMERICA,
 Ex rel. Jay Gallo and Greg Quinn,

                 Plaintiffs,
 vs.

 THOR GUARD, INC., a Florida Profit
 Corporation; ROBERT DUGAN, an
 individual; and PETER TOWNSEND, an
 individual,

             Defendants.
 ___________________________________/

       DEFENDANTS’ REPLY IN SUPPORT OF THEIR MOTION FOR ENTRY OF
                           SUPPRESSION ORDER

        Defendants, THOR GUARD, INC. (“Thor Guard”), ROBERT DUGAN (“Mr. Dugan”),

and PETER TOWNSEND (“Mr. Townsend”) (collectively, “Defendants”), by and through the

undersigned counsel, and pursuant to M.D. Fla. Local Rule 3.01(c), hereby file their Reply in

Support of Their Motion for Entry of Suppression Order [ECF No. 45], and state as follows:

                    I.         INTRODUCTION/MEMORANDUM OF LAW

        In Plaintiffs’ Response in Opposition to Defendants’ Motion to Reseal the Complaint and

Exhibits and Motion for Entry of Suppression Order (the “Response”), Plaintiffs contend it is

unclear whether Defendants are requesting an order impacting the Website. [ECF No. 49].

        As plainly set forth in Defendants’ Motion for Entry of Suppression Order, Defendants are

requesting this Court enter an Order “directing the parties to refrain from making any extrajudicial




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statements regarding the lawsuit.”1 [ECF No. 45]. Defendants simply point to the existence of the

Website to support their Motion for Entry of Suppression Order. The Website demonstrates the

substantial likelihood of “extrajudicial commentary” regarding the instant lawsuit. As stated,

Defendants believe the Website is not intended solely for informational purposes, but rather, is an

attempt by an unknown party to create bias against Thor Guard and to poison the potential jury

pool in the event this case proceeds to trial. A Suppression Order would impact the Website only

to the extent Plaintiffs, or their attorneys, are associated with the Website.

          Moreover, Plaintiffs recent conduct underscores the need for a Suppression Order

specifically directed to both Plaintiffs and their counsel. Namely, in their Response, Plaintiffs

conclusively state that “multiple people have been struck by lightning at Thor Guard locations and

been seriously injured or killed.” [ECF No. 49, p. 4]. The fact that Plaintiffs have resorted to the

use of such a misleading, defamatory statement—knowing full well what its suggests—indicates

the lengths Plaintiffs are willing to go in order to keep their narrative afloat.

          Lastly, Defendants are seeking this this Court direct the Plaintiffs, and their counsel, to

comply with Florida Rule of Professional Conduct 4-3.6. This Court may proactively prohibit the

parties from making any extrajudicial statements regarding a lawsuit if it determines such

statements would have a substantial likelihood of prejudicing the proceeding.

          In light of Plaintiffs’ inclination to make this case about the purported dangers associated

with Thor Guard’s lightning prediction systems, rather than whether they have stated a claim under

the False Claims Act, Defendants must assume that Plaintiffs, and their counsel, will continue to

rely on misleading, inflammatory statements to distract from the real issues in this case. Likewise,




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  Defendants do not seek to prevent Plaintiffs “from speaking with witnesses or conducting
informal discovery.” [ECF No. 49].

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Defendants must assume Plaintiffs have an interest in making extrajudicial statements regarding

this lawsuit in order to create public bias against Thor Guard.

                                                   II.        CONCLUSION

          For these reasons, Defendants request that this Court enter a suppression order directing

the parties to refrain from making any extrajudicial statements regarding the lawsuit; and grant

any other or further relief this Court deems just and proper under the circumstances.

          DATED: December 3, 2019.

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